Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 1 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 2 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 3 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 4 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 5 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 6 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 7 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 8 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 9 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 10 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 11 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 12 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 13 of 14
Case 7:21-cv-08002-NSR Document 12 Filed 03/03/22 Page 14 of 14
